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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                              Criminal Action No.
           v.
                                              1:20-CR-481-SCJ-RDC
   ARTHUR LEE COFIELD


        GOVERNMENT’S RESPONSE IN OPPOSITION TO
 DEFENDANT’S MOTION TO SUPPRESS FRUITS OF A WARRANTLESS
                  CELL PHONE SEARCH
   COMES NOW the United States of America, by Ryan K. Buchanan, United

States Attorney, and Irina K. Dutcher, Assistant United States Attorney, Northern

District of Georgia, and hereby files the Government’s Response to Defendant’s

Motion to Suppress the Fruits of a Warrantless Cell Phone Search. Because
Defendant Cofield has not shown a legitimate expectation of privacy in the

contents of a contraband cell phone, he cannot meet his burden in claiming a

Fourth Amendment violation. Consequently, Defendant’s motion should be
denied.

   I.      Statement of Pertinent Facts and Procedural History

   On August 31, 2020, United States Postal Inspection Service Postal Inspector
Christopher Zito received information that a fraud had been committed on the

Charles Schwab Corporation (“Schwab”) during which a fraudster gained access

to a customer account belonging to victim Sidney Kimmel, completed an online

application via Schwab.com, and requested the opening of a Schwab Individual
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Brokerage Account in the victim’s name. On June 8, 2020, the imposter purporting
to be Kimmel contacted Schwab by phone via 323-909-8701 and stated that he had

uploaded a wire disbursement form to the secure email option available on his

online account. The emailed document contained a wire disbursement request and
a forged letter of authorization which all appeared to be signed by Kimmel. On

June 9, 2020, a wire disbursement in the amount of $11,000,000 was sent from the

Schwab account to a Zions Bank account for Money Metals Exchange, LLC. This

payment was made without the knowledge or consent of the actual owner of the

account. The transfer of funds was for the purchase of 6,106 American Eagle gold

coins.

   On June 10, 2020, members of the Georgia Department of Corrections (“GDC”)

prison staff searched the prison cell of Cofield and recovered a blue Samsung cell

phone from under Cofield’s armpit. The prison forensics unit extracted the phone

and determined that Cofield was using a TextNow account which provides users

with a different phone number that can be used to call and text. Within the cell

phone extraction, agents identified conversations between Cofield and a sales

member of Money Metals Exchange in Eagle, Idaho. In these conversations, the

sales member believed he was communicating with Kimmel via 323-909-870, the

same number that was used to contact Schwab. The conversation involved the
purchase of gold coins from Money Metals Exchange LLC in the amount of

$11,000,000.

   On December 8, 2020, a federal grand jury returned a seven-count indictment
related to the fraud and money laundering scheme, charging: Arthur Lee Cofield

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(hereinafter “Cofield”) with a conspiracy to commit bank fraud in violation of 18
U.S.C. § 1349 (Count One) and aggravated identity theft in violation 18 U.S.C.

§1028A(a)(1) (Count Two); Cofield and Eldridge Maurice Bennett with a

conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h) (Count
Three) and money laundering in violation of 18 U.S.C. § 1956(a)(l)(B)(i) (Count

Four) and 18 U.S.C. § 1957 (Count Five); and Cofield, Eldridge Maurice Bennett,

and Eliayah Bennett with conspiracy to commit money laundering in violation of

18 U.S.C. § 1956(h) (Count Six) and money laundering in violation of 18 U.S.C. §

1957 (Count Seven). (Doc. 1).

   Defendant Cofield filed the instant motion to suppress evidence on April 28,

2021. (Doc. 79). On July 13, 2022, Cofield filed a supplemental pleading on the issue

of standing, claiming a possessory interest in the contraband cell phone the

contents of which he seeks to suppress. (Doc. 127). Cofield attached as an exhibit

to that pleading a GDC Incident Report that detailed the seizure of the subject cell

phone from Cofield’s armpit inside his prison cell. (Doc. 127, Exhibit 1). At a

pretrial conference on July 13, 2022, the Court directed the government to respond

to the motion only as to the issue of standing. (Doc. 128).

   II.   Legal Authority and Argument

   One’s standing to challenge governmental actions on Fourth Amendment
grounds is a threshold question. See United States v. McBean, 861 F.2d 1570, 1573

(11th Cir. 1988). To prevail on a claim that evidence was seized in violation of the

Fourth Amendment, the defendant bears the burden of demonstrating a
legitimate expectation of privacy in the areas searched. Smith v. Maryland, 442

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U.S. 735, 740, 99 S. Ct. 2577, 61 L. Ed. 2d 220 (1979) (applicability of Fourth
Amendment turns on whether defendant can claim a justifiable, reasonable, or

legitimate expectation of privacy). United States v. Harris, 526 F.3d 1334, 1338

(11th Cir. 2008); United States v. Brazel, 102 F.3d 1120, 1147-48 (11th Cir. 1997);
United States v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998) (holding that the

individual challenging the search has the burden of both proof and persuasion).

To have standing to challenge a search, one must manifest a subjective

expectation of privacy in the invaded area that “society is prepared to recognize

as reasonable.” Cooper, 133 F.3d at 1398; United States v. Segura-Baltazar, 448 F.3d

1281, 1286 (11th Cir. 2006). A bare claim that an individual has an interest in the

items seized during a search is insufficient to establish that his Fourth

Amendment rights were implicated by a search. See United States v. Chaves, 169

F.3d 687, 690 (11th Cir. 1999).

   It is well established that incarcerated persons lack any protected privacy

interest in their cells and personal property. See Hudson v. Palmer, 468 U.S. 517,

525-26, 104 S. Ct. 3194, 82 L. Ed. 2d 393 (1984). Accordingly, the Fourth

Amendment’s warrant requirement and reasonableness standard do not apply to

cell searches or the seizure of inmate property. Id. In Hudson v. Palmer, the

Supreme Court held that “society is not prepared to recognize as legitimate any
subjective expectation of privacy that a prisoner might have in his prison cell and

that, accordingly, the Fourth Amendment proscription against unreasonable

searches does not apply within the confines of a prison cell. The recognition of
privacy rights for prisoners in their individual cells simply cannot be reconciled

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with the concept of incarceration and the needs and objectives of penal
institutions.” 468 U.S. 517, 525-26, 104 S. Ct. 3194, 82 L. Ed. 2d 393 (1984).

   Numerous federal courts applying Hudson have concluded that prisoners

have no reasonable expectation of privacy in using contraband cell phones and
therefore cannot maintain Fourth Amendment claims based on seizure of the

phones or their contents. See, e.g., United States v. Morris, 2016 U.S. Dist. LEXIS

107777 at *13-14, 2016 WL 4267990 (N.D. Ga. Aug. 15, 2016); United States v.

Basaldua, 2021 U.S. Dist. LEXIS 236014 at *4-6; 2021 WL 5851448 (M.D. La. Dec. 9,

2021); Shea v. United States, 2016 U.S. Dist. LEXIS 194920, 2016 WL 3750975, at *5

(D. Nev. Apr. 16, 2016), adopted by 2018 U.S. Dist. LEXIS 133733, 2018 WL

3747282 (D. Nev. Aug. 7, 2018); Hayes v. Cal. Dep’t of Corr. & Rehab., 2019 U.S.

Dist. LEXIS 216049 at *4, 2019 WL 9362650 (C.D. Cal. Dec. 16, 2019); United States

v. Bash, 2021 U.S. Dist. LEXIS 143002 at *10, 2021 WL 3207252 (E.D. Cal. Jul. 29,

2021). Because cell phones are contraband, inmates can have no reasonable or

legitimate expectation of privacy in communications that take place using them.

See United States v. Yandell, 2022 U.S. Dist. LEXIS 91166 at *10, 2022 WL 1607923

(E.D. Cal. May 2022) (“Because inmate possession of cellphones is prohibited by

law, any subjective expectation of privacy in conversations conducted on them is

inherently unreasonable and illegitimate.”); United States v. York, 2017 U.S. Dist.
LEXIS 161325, 2017 WL 5068143 at *4 (E.D. Cal. Sept. 29, 2017) (defendant “could

have no reasonable expectation of privacy in communications that took place

over his contraband cellular telephone” and thus lacked standing to challenge
wiretap); United States v. Rodriguez, 2015 U.S. Dist. LEXIS 13405, 2015 WL 468358

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at *1 (S.D. Cal. Feb. 3, 2015) (“No court has ruled that a prison inmate has a
reasonable expectation of privacy for communications he makes by cellular

telephone.”)

   Cofield’s reliance on Riley v. California to support his Fourth Amendment
claim is inapposite because Riley’s cell phone was searched incident to his arrest;

his possession of the phone was not itself illegal. 573 U.S. 373, 378-379, 134 S. Ct.

2473, 189 L. Ed. 2d 430 (2014); see also Basaldua, 2021 U.S. Dist. LEXIS 236014 *5-6

(contrasting the facts in Riley in holding that an incarcerated defendant does not

have an expectation of privacy that society is willing to recognize as reasonable).

Here, Cofield’s possession of the subject cell phone was inside of a prison cell

where Cofield had no expectation of privacy, and his mere possession of the

phone was illegal. Consequently, Cofield cannot show the standing necessary to

make a Fourth Amendment challenge.

   III.   Conclusion

      Because Defendant Cofield lacks Fourth Amendment standing to contest

the search of his cell phone, Cofield’s Motion to Suppress the Fruits of a

Warrantless Cell Phone Search should be denied.

                              [continued on next page]




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Respectfully submitted, this 12th day of August 2022.


                               Ryan K. Buchanan
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                               Northern District of Georgia

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                          CERTIFICATE OF SERVICE

   This is to certify that I have this day served the foregoing Response in

Opposition to Defendant’s Motion to Suppress Fruits of a Warrantless Cell Phone

Search today by filing it using the Court’s CM/ECF system, which automatically

notifies the parties and counsel of record.

                             Steven Howard Sadow




August 12, 2022


                                              /s/ I RINA K. D UTCHER

                                              Irina K. Dutcher

                                              Assistant United States Attorney




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